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                                     Exhibit A




{1368.002-W0069644.2}
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref Nos. 26, 57, 266, 364, 370 & 406


               ORDER EXTENDING THE TIME TO FILE (A) SCHEDULES OF
               ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL
                   AFFAIRS AND (B) RULE 2015.3 FINANCIAL REPORTS

                     Upon the motion [D.I. 26] and supplement to the motion [D.I. 266] (together, the

“Motion”) 2 of FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”), for entry of an order (this “Order”) extending the (a) initial 28-day

deadline by which the Debtors must file their Schedules and Statements, without prejudice to the

Debtors’ ability to request additional extensions and (b) deadline by which the Debtors must file

their 2015.3 Reports, without prejudice to the Debtors’ ability to request additional extensions;

and upon the reply and Mosley Declarations in support of the Motion; and this Court having

jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and this Court being able to issue a final order consistent with Article

III of the United States Constitution; and venue of these Chapter 11 Cases and the Motion in this

district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.

2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.



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proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or

further notice is necessary; and objections (if any) to the Motion having been withdrawn,

resolved or overruled on the merits; and a hearing having been held to consider the relief

requested in the Motion and upon the record of the hearing and all of the proceedings had before

this Court; and this Court having found and determined that the relief set forth in this Order is in

the best interests of the Debtors and their estates; and that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.   The Motion is GRANTED as set forth herein.

                     2.   The time by which the Debtors must file their Schedules and Statements

shall be, and hereby is, extended through and including March 15, 2023; provided, however, if

the Debtors seek to sell all or substantially all of any Debtor’s assets (other than where the assets

being sold are comprised solely of a Debtor’s interest in a non-Debtor subsidiary), no later than

the earlier of March 13, 2023 and 14 days prior to the hearing to approve such sale, the Debtors

shall file Schedules and Statements with appropriate disclosures regarding any limitations of the

information contained therein of the applicable selling Debtor and, if the selling Debtor is selling

interests in a Debtor subsidiary, any such applicable Debtor subsidiary. The foregoing extension

of time to file the Schedules and Statements is without prejudice to the Debtors’ right to seek

further extensions of time to prepare and file their Schedules and Statements.




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                     3.   The time by which the Debtors must file their 2015.3 Reports, if

applicable, shall be, and hereby is, extended to March 15, 2023; provided, however, if the

Debtors seek to sell any Debtor’s equity interest in a non-Debtor subsidiary, no later than the

earlier of February 13, 2023 and 14 days prior to the hearing to approve such sale, the Debtors

shall file the Rule 2015.3 Report with appropriate disclosures regarding any limitations of the

information contained therein with respect to such non-Debtor subsidiary. The foregoing

extension of time to file the 2015.3 Reports is without prejudice to the Debtors’ right to seek

further extensions of time to prepare and file their 2015.3 Reports, if applicable.

                     4.   Nothing in this Order affects any party’s rights with respect to any

proposed sale of any Debtor assets.

                     5.   The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                     6.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated: ___________________                               ___________________________________
       Wilmington, Delaware                              The Honorable John T. Dorsey
                                                         United States Bankruptcy Judge




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